                 Case 3:14-cv-00582-JD Document 96 Filed 08/31/17 Page 1 of 3



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     DANIEL C. QUINTERO (Bar No. 196492)
 2   JOHN R. HURLEY (Bar No. 203641)
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 4
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 5
     Attorneys for Plaintiff
 6   DANIEL NORCIA

 7                                      UNITED STATES DISTRICT COURT

 8                                   NORTHERN DISTRICT OF CALIFORNIA

 9
     DANIEL NORCIA, on his own behalf and on          Case No.: 3:14-cv-582-JD
10   behalf of all others similarly situated,
                                                      STIPULATION REGARDING BRIEFING
11                             Plaintiffs,            SCHEDULE FOR MOTION FOR
                                                      JUDGMENT ON THE PLEADINGS;
12          v.
                                                      DECLARATION OF JOHN R. HURLEY;
13   SAMSUNG TELECOMMUNICATIONS
     AMERICA, LLC, a New York Corporation, and        AND
14   SAMSUNG ELECTRONICS AMERICA, INC.,
     a New Jersey Corporation,                        [PROPOSED] ORDER
15                                                    Complaint Filed: February 7, 2014
                               Defendants.
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                                                     1                                         Stipulation
                                                                                          3:14-cv-582-JD
               Case 3:14-cv-00582-JD Document 96 Filed 08/31/17 Page 2 of 3



 1                                               STIPULATION
 2                  Plaintiff Daniel Norcia (“Plaintiff”) and Defendants Samsung Telecommunications
 3   America, LLC, and Samsung Electronics America, Inc. (collectively “Samsung”), hereby stipulate and
 4   agree to modify the briefing schedule on Samsung’s Motion for Judgment on the Pleadings (ECF 94),
 5   set for hearing on October 5, 2017, as follows:
 6          1. Plaintiff’s Opposition, currently due September 1, 2017, shall be due September 8, 2017.
 7          2. Samsung’s Reply, currently due September 8, 2017, shall be due September 22, 2017.
 8          IT IS SO STIPULATED.
 9          Pursuant to Local Rule 5-1(i)(3), the undersigned filer of this document hereby attests that

10   concurrence in the filing has been obtained from each of the other signatories, which shall serve in lieu
11   of their signatures on the document..
12   DATED: August 31, 2017                       Respectfully submitted,
13
14                                                By:     /s/ John R. Hurley
                                                          John R. Hurley
15
16                                                        Attorneys for Plaintiff Daniel Norcia

17
                                                  By:     /s/ Sean D. Under
18                                                        Sean D. Unger

19                                                        Attorneys for Defendants Samsung
                                                          Telecommunications America, LLC, and Samsung
20
                                                          Electronics America, Inc.
21
22   PURSUANT TO STIPULATION, IT IS SO ORDERED.

23   DATED:

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25                                                By:
                                                          Hon. James Donato
26                                                        United States District Court Judge

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                                                          2                                            Stipulation
                                                                                                  3:14-cv-582-JD
               Case 3:14-cv-00582-JD Document 96 Filed 08/31/17 Page 3 of 3



 1                                  DECLARATION OF JOHN R. HURLEY
 2   I, John R. Hurley, declare:
 3          1. I am an attorney at law, duly licensed to practice law in the State of California and a member
 4              of the bar of this Court, and I am an attorney of record in this action for Plaintiff Daniel
 5              Norcia. I make this declaration based on personal knowledge and would competently testify
 6              to the matters set forth herein.
 7          2. The request for modification of the briefing schedule and enlargement of time for the filing
 8              of opposition and reply papers on the Motion for Judgment on the Pleadings (ECF 94) is
 9              made to in order to provide counsel for the parties additional time to address the issues raised

10              in the Motion and anticipated Opposition while also accounting for the Labor Day holiday.
11          3. There have been no previous modifications of the briefing schedule on the Motion for
12              Judgment on the Pleadings.
13          4. The requested modification would not move the hearing date or otherwise affect the schedule
14              for the case.
15          I declare under penalty of perjury under the laws of the United States that the foregoing is true
16   and correct. Executed this day, August 31, 2017.
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19                                                 By:     /s/ John R. Hurley
                                                           John R. Hurley
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                                                          3                                              Stipulation
                                                                                                    3:14-cv-582-JD
